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4    Attorney for Defendant
     Derek Maddox
5

6                          UNITED STATES DISTRICT COURT
7                        EASTERN DISTRICT OF CALIFORNIA

8

9
     UNITED STATES OF AMERICA          )      No. 2:03-cr-00371-MCE
10                                     )
                     Plaintiff         )      STIPULATION AND ORDER
                                       )      CONTINUING SENTENCING
11             v.                      )
                                       )      Date:     May 31, 2007
12   DEREK MADDOX,                     )      Time:     9:00 AM
                                       )      Court:    MCE
13                   Defendant         )
                                       )
14

15        IT IS HEREBY STIPULATED AND AGREED by the parties through

16   their respective attorneys that the above referenced matter,
17   calendared for Tuesday, April 10, 2007, at 8:30 AM, for
18
     sentencing be rescheduled for May 31, 2007 at 9:00 AM for
19
     sentencing.
20
          It is further agreed and stipulated that informal
21
     objections to the PSR shall be filed no later than Wednesday,
22
     May 1, 2007, and that formal objections shall be filed no later
23
     than May 15, 2007. A corrected PSR, if any shall be filed on or
24
     about May 27, 2007.
25




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1         This stipulation and agreement is entered into for the

2    following reasons: Counsel for defendant has been preparing for
3    trial in the retrial of the penalty phase of a 25 year old-
4
     capital case. The taking of evidence is scheduled to commence on
5
     Monday, April 9, 2007. Although counsel’s status has changed
6
     somewhat in the past three days, participation is still
7
     required.
8

9
          IT IS SO STIPULATED
10

11

12        Dated: April 7, 2007                /S/ MICHAEL B. BIGELOW
                                              Michael B. Bigelow
13
                                              Attorney for Defendant
14

15

16
          Dated: April 7, 2007                /S/WILLIAM S. WONG
17                                            William S. Wong, AUSA

18
     IT IS SO ORDERED
19
     April 12, 2007
20
                                    __________________________________
21                                  MORRISON C. ENGLAND, JR
22                                  UNITED STATES DISTRICT JUDGE

23

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